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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA


GEORGE ZIMMERMAN

                  Plaintiff,
v.                                                   Case No.: 8:20-cv-01077-CEH-CPT


PETE BUTTIGIEG et al.

                  Defendants



          MR. KLAYMAN’S RESPONSE TO CASE MANAGEMENT REPORT

       Counsel for Defendants mischaracterizes the situation with Plaintiff George Zimmerman,

who despite attempts by Mr. Klayman, who moved to withdraw from this case due to a

conflicting situation, has attempted to be in contact with Mr. Zimmerman on numerous occasions

in the last weeks through email. He has also left several voicemail messages over several weeks

with no response from Mr. Zimmerman.

       In another case styled Zimmerman v. Fulton et al, 53-2019-CA- 004884000000 in Polk

County Mr. Klayman was granted leave to withdraw, and Mr. Zimmerman did appear on the

telephonic status conference unexpectedly without notice to any party, and, when pressed by the

court, he advised the presiding judge that he had retained Martin Pedata of DeLand Florida to

represent him in that case. However, Mr. Pedata has yet to file a notice of appearance. The court

did provide Mr. Zimmerman 30 days to have new counsel enter that case. See Exhibit 1.

       Yesterday, Mr. Klayman, finding his telephone number on the internet, called Mr. Pedata

and inquired if he was going to enter an appearance in the case before this Court, and he replied

that he had no knowledge about it. Mr. Klayman urged Mr. Pedata to try to communicate with




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Mr. Zimmerman to ascertain how he would proceed in this case, as matters were coming due.

Should the defendants wish to communicate with Mr. Pedata, his telephone number is listed as

386-748-0941.

       In sum, Mr. Zimmerman, based on likely interference by a third party who on

information and belief has engaged in the unauthorized practice of law and tortiously interfered

in the attorney client relationship, has refused to communicate with the undersigned counsel and

has refused to return emails or telephone messages for many weeks. Defense counsel was

advised that the undersigned counsel, who has moved to withdraw, was not authorized to provide

Mr. Zimmerman's cell phone or contact information number, as there are also security concerns.

However, Mr. Zimmerman was advised by the undersigned counsel repeatedly by email and

voicemail of the urgent need to address the pending matters before this honorable Court.



Dated: July 21, 2020                                Respectfully submitted,

                                                     /s/ Larry Klayman
                                                    Larry Klayman, Esq.
                                                    KLAYMAN LAW GROUP P.A.
                                                    7050 W. Palmetto Park Rd
                                                    Boca Raton, FL, 33433
                                                    Tel: 561-558-5536
                                                    Email: leklayman@gmail.com

                                                    Attorney for Plaintiff



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 21st day of July, 2020, a copy of the foregoing was
served by electronic filing upon counsel listed on the Notice of Electronic Filing


                                                    /s/ Larry Klayman



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